Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 1 of 12




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


   Civil Action No: 21-cv-1708-WJM-KMT


   ESTATE OF CHAD ALEXANDER BURNETT,

             Plaintiff,

   v.

   CITY OF COLORADO SPRINGS, a municipality;
   SERGEANT MICHAEL INAZU, in his individual capacity;
   OFFICER JOSEPH DAIGLE, in his individual capacity;
   OFFICER MATTHEW FLEMING, in his individual capacity; and
   OFFICER CAROLINE BARTH, in her individual capacity,

             Defendants.



        RESPONSE TO MOTION FOR LEAVE TO FILE AMENDED COMPLAINT AND
                               JURY DEMAND


             Defendants, City of Colorado Springs, (“City”), Sergeant Michael Inazu, Officer Joseph

   Daigle, Officer Matthew Fleming, and Officer Caroline Barth (individual officers, collectively

   “officers”), by and through the Office of the City Attorney, hereby respond to the Motion for Leave

   to file an Amended Complaint.

        I.       Introduction and Background

             After counsel for Defendants conferred with Plaintiff and filed their motion to dismiss,

   Plaintiff filed the non-consent to magistrate jurisdiction form. Filing of the form triggered re-

   assignment to this Court. After reassignment, this Court struck the motion to dismiss for
Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 2 of 12




   noncompliance with its practice standards. The undersigned, in compliance with the Court’s

   practice standards, conferred and inquired whether Plaintiff’s counsel expected to amend the

   complaint in order to cure deficiencies identified in the original motion to dismiss. In response,

   Plaintiff now seeks to amend the complaint to add two claims—one under the Americans with

   Disabilities Act (“ADA”), 42 U.S.C. §§ 12131, et seq. and another—a standalone Monell claim

   alleging a failure to train and supervise regarding mental health. However, each claim is subject to

   dismissal and, therefore, amendment is futile. As such, leave to amend should be denied.

      II.      Argument

            Failure to cure deficiencies by amendment and futility of amendment are two bases to deny

   leave. See Frank v. U.S. W., Inc., 3 F.3d 1357, 1365 (10th Cir. 1993). Whether to grant leave to

   amend a complaint is within the discretion of the Court. See Minter v. Prime Equip. Co., 451 F.3d

   1196, 1204 (10th Cir. 2006) (quoting Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S.

   321, 330 (1971)). “A proposed amendment is futile if the complaint, as amended, would be subject

   to dismissal.” Jefferson Cty. Sch. Dist. No. R-1 v. Moody’s Investor’s Servs., Inc., 175 F.3d 848,

   859 (10th Cir. 1999). “In other words, an amendment is futile if it would not survive a motion to

   dismiss.” OraLabs, Inc. v. Kind Grp. LLC, No. 13-CV-00170-PAB-KLM, 2014 WL 1395954, at

   *2 (D. Colo. Apr. 10, 2014). “To withstand a motion to dismiss, a complaint, when taken as true

   and in the light most favorable to the plaintiff, ‘must contain sufficient factual matter, accepted as

   true, to ‘state a claim to relief that is plausible on its face.’” Chisholm v. Rock Gardens Rafting,

   Inc., No. 11-CV-02437-MSK-KMT, 2012 WL 1130130, at *1 (D. Colo. Apr. 4, 2012) (quoting in

   part Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).




                                                     2
Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 3 of 12




          A. The ADA claim

          An ADA claim has not been plausibly alleged. First, officers were unaware of any specific

   disability affecting Mr. Burnett when they encountered him under tense circumstances after he had

   threatened neighbors with a knife. Second, the ADA does not require officers to diagnosis

   individuals they confront. Third, and finally, the ADA does not require a response from a crisis

   intervention team. For these reasons, the ADA claim is subject to dismissal.

          In order to state a claim under the ADA, a plaintiff must prove:

          (1) that he or she is a qualified individual with a disability;
          (2) that he or she was either excluded from participation in or denied the benefits
          of some public entity’s services, programs, or activities, or was otherwise
          discriminated against by the public entity; and
          (3) that such exclusion, denial of benefits, or discrimination was by reason of the
          plaintiff’s disability.

   Gohier v. Enright, 186 F.3d 1216, 1219 (10th Cir. 1999). “Based on the second element, courts

   have recognized two types of claims: (1) exclusion from or denial of benefits and (2)

   discrimination.” J.V. v. Albuquerque Pub. Sch., 813 F.3d 1289, 1295 (10th Cir. 2016). The Tenth

   Circuit, in Gohier, explained that Title II claims arising from arrests are premised on one of two

   theories. “The first is that police wrongly arrested someone with a disability because they

   misperceived the effects of that disability as criminal activity. The second is that, while police

   properly investigated and arrested a person with a disability for a crime unrelated to that disability,

   they failed to reasonably accommodate the person’s disability in the course of investigation or

   arrest, causing the person to suffer greater injury or indignity in that process than other arrestees.”

   Id. at 1220–21 (internal citations omitted).




                                                     3
Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 4 of 12




          Here, the amended complaint only alleges a failure to accommodate.1 (ECF. 23-1, ¶ 71)

   Plaintiff alleges officers should have “called for backup from people with more experience in crisis

   intervention with respect to people exhibiting mental distress, such as members from the Crisis

   Intervention Team.” (Id. at ¶ 36).

          The Tenth Circuit has made clear, “[a] public entity must provide a reasonable

   accommodation under the ADA when it knows that the individual is disabled and requires an

   accommodation of some kind to participate in or receive the benefits of its services.” J.V., 813

   F.3d at 1299 (internal quotation marks omitted) (emphasis added). The need for an accommodation

   must either be obvious or requested by the individual. Id. There is no allegation that Mr. Burnett

   requested an accommodation. The amended complaint fails to show that the officers were on notice

   of the need to accommodate Mr. Burnett.

          Plaintiff alleges that Mr. Burnett was in the midst of a “mental health crisis” (Id. at ¶¶ 27-

   28) and Sergeant Inazu was aware that Mr. Burnett “had a history of mental illness.” (Id. at ¶ 26)

   Plaintiff stops short of alleging that any officer had knowledge of Mr. Burnett’s specific mental

   illness.2 “Mental illness” covers a wide array of afflictions. Without knowledge of Mr. Burnett’s

   specific disability, officers could not have provided an accommodation. See Robertson v. Las

   Animas Cnty. Sheriff’s Dep’t, 500 F.3d 1185, 1196 (10th Cir. 2007) (“Before a public entity can

   be required under the [ADA] to provide a disabled individual an auxiliary aid or service, a public


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     The Tenth Circuit has yet to find that an ADA claim based on a failure to accommodate is a
   viable cause of action. See J.H. ex rel. J.P. v. Bernalillo Cty., 806 F.3d 1255, 1261 (10th Cir.
   2015).
   2
     The amended complaint alleges that Mr. Burnett was diagnosed with clinical depression as a
   teenager. His depression affects his “[mental] processing of current events, thinking, learning,
   concentrating, comprehending, interacting with others, sleeping, and effectively coping with
   anxiety and stress.” (Id. at ¶ 9).
                                                    4
Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 5 of 12




   entity must have knowledge of the individual’s disability and the individual’s need for an

   accommodation.” (emphasis added)). Further, the ADA does not require officers to diagnosis

   mental illness on the fly during a stressful, rapidly evolving encounter. Indeed, while Mr. Burnett

   was allegedly in the throes of an “obvious mental health crisis” (ECF. 23-1, ¶ 28), he could have

   just as well been inebriated (on any one of a number of different substances that mimic a mental

   illness), plain angry, or both.

           Not only were officers unaware of a disability, but officers were also confronted with

   exigent circumstances when they were dispatched in response to two 911 calls which reported that

   Mr. Burnett had feloniously menaced a neighbor (Id. at ¶ 19) and was in possession of a knife

   (ECF 23-1, ¶ 20). Under the ADA, an accommodation is not required when an individual “poses

   a direct threat to the health or safety of others.” 28 C.F.R. § 36.208(a). Nevertheless, the amended

   complaint alleges officers spoke with Mr. Burnett for an hour and a half before they attempted to

   apprehend him. (ECF. 23-1 ¶ 32) While the amended complaint alleges that Mr. Burnett threw the

   knife involved in the menacing incident into his front lawn (Id. at ¶ 31), a significant risk still

   existed that Mr. Burnett would continue to act unpredictably and violently towards police and

   others. This included the real possibility that he would retreat into his house to locate and use

   another knife or weapon.

           Finally, it is unclear how a response from a Crisis Intervention Team or a response from

   officers with more experience in crisis intervention were reasonable accommodations. Either

   option would have left those officers guessing about the root cause of Mr. Burnett’s actions without

   reducing the danger presented by Mr. Burnett. At some point, any officer, regardless of their




                                                    5
Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 6 of 12




   training, would be faced with the difficult decision of determining that Mr. Burnett was given

   sufficient time to voluntarily surrender and proceed to proactively apprehending him.

           In total, the amended complaint falls short of alleging plausible facts that officers should

   have perceived a need for a special accommodation aside from the usual, lawful treatment afforded

   to any agitated, intoxicated or distressed person. As such, leave to file a claim based on a violation

   of the ADA should be denied.

           B. Failure to train and supervise regarding mental health

           The standalone failure to train or supervise theory is subject to dismissal. The amended

   complaint does not contain any factual allegations surrounding CSPD’s training and supervision

   and does not allege facts to support deliberate indifference.

           “[T]he standards for pleading a municipal liability claim are strenuous, and those for

   asserting a viable failure to train claim particularly so.” Estate of Reat v. Rodriguez, No. 12-CV-

   02531-REB-MEH, 2014 WL 4358333, at *2 (D. Colo. Sept. 3, 2014); see also Connick v.

   Thompson, 563 U.S. 51, 61 (2011) (“A municipality’s culpability for a deprivation of rights is at

   its most tenuous where a claim turns on a failure to train.”). “To state a Monell claim based on the

   failure to train or supervise, a plaintiff must sufficiently allege that the failure amounts to deliberate

   indifference to the rights of persons with whom the police come into contact.” Cook v. Whyde, No.

   20-CV-02912-PAB-STV, 2021 WL 4459051, at *15 (D. Colo. Sept. 29, 2021) (internal quotation

   marks omitted). “‘Deliberate indifference’ for purposes of failure to train or supervise ordinarily

   necessitates a showing of a pattern of similar constitutional violations by untrained employees.”

   Id. at *15 (emphasis added).




                                                       6
Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 7 of 12




          The amended complaint adds paragraphs describing four instances3 between 2009 and

   2019. (ECF 23-1, ¶¶ 107-110) None of the noted incidents involve police contacts with those

   suffering from mental illness. For purposes of a Monell claim based on a failure to train or

   supervise officers on contacts involving the mentally ill, reliance on these prior factually dissimilar

   incidents fail to plausibly establish deliberate indifference. See Connick, 563 U.S. at 62-63.

          The amended complaint, as well, does not attempt to “set forth any facts concerning how

   the individual defendants were trained, who they were trained by, why their training was deficient,

   or what the City’s training includes and how it has changed since the alleged pattern began . . . .”

   Whyde, 2021 WL 4456051 at *16; see also Zartner v. City & Cty. of Denver, 242 F. Supp. 3d

   1168, 1173 (D. Colo. 2017) (finding a failure to train theory insufficiently alleged when the

   amended complaint “ma[de] no reference to the [police department’s] training protocols,

   inadequate or otherwise.”). Instead, the amended complaint baldly alleges general deficiencies.

   (ECF 23-1, ¶¶ 112-114) Without a description of the specific deficiencies in training and

   supervision of the named officers, or any other officer, deliberate indifference to an obvious need

   for different or more training or supervision is missing. See Bark v. Chacon, No. 10-CV-01570-

   WYD-MJW, 2011 WL 1884691, at *3 (D. Colo. May 18, 2011). Accordingly, for these reasons,

   the claim based on a failure to train and supervise officers on their contacts with individuals

   suffering mental illness is deficient and subject to dismissal.


   3
     The complaint does not allege that any of the incidents resulted in a finding of wrongdoing. See
   Trujillo v. Campbell, No. 09-CV-03011-CMA-KLM, 2012 WL 3609747, at *7 (D. Colo. Aug.
   22, 2012) (“A plaintiff must also show that the municipality failed to investigate or take
   corrective action on any prior meritorious claim of excessive force.”); see also Harris v. City &
   Cty. of Denver, No. 19-CV-00572-MEH, 2019 WL 6876870, at *12 (D. Colo. Dec. 17, 2019) (a
   failure to discipline requires a showing of “‘repeated’ complaints of unlawful entry and
   search.”).
                                                     7
Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 8 of 12




          C. Claims asserted in the original complaint

          Claims asserted in the original complaint and asserted, again, in the amended complaint

   are subject to dismissal.

                  1. Warrantless entry claim

          The officers had probable cause to arrest Mr. Burnett for felony menacing and enter the

   residence in hot pursuit of him. Two 911 calls were made by neighbors—one reporting that Mr.

   Burnett had threatened the caller’s husband and another to report that Mr. Burnett was seen in

   possession of a knife. (ECF 23-1, ¶¶ 19-20) After talking with neighbors, discovering the knife

   used in the felony menacing, and spending over an hour and a half attempting to convince him to

   surrender, officers chased Mr. Burnett into the house when he fled. (Id. at ¶¶ 25, 29, 31, 32, 40 and

   41). Officers could lawfully pursue Mr. Burnett into his house when he fled from them. See U.S.

   v. Santana, 427 U.S. 38, 43 (1976).

                  2. Excessive force claim

          The excessive force claim is also subject to dismissal because the taser use, as described

   by the amended complaint, was reasonable. “Reasonableness is evaluated under a totality of the

   circumstances approach which requires that [the court] consider[s] the following factors: ‘the

   severity of the crime at issue, whether the suspect poses an immediate threat to the safety of the

   officers or others, and whether he is actively resisting arrest or attempting to evade arrest by

   flight.’” Weigel v. Broad, 544 F.3d 1143, 1151–52 (10th Cir. 2008) (quoting in part Graham v.

   Conner, 490 U.S. 386, 396 (1989)). As described in greater detail in the motion to dismiss, Mr.

   Burnett fled and then resisted officers’ attempts to apprehend him. (Id. at ¶¶ 41, 47) Only after

   Officer Barth used her taser were officers were able to control Mr. Burnett well enough to place


                                                    8
Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 9 of 12




   handcuffs on him. (Id. at ¶¶ 51, 56, 59) Even after he was handcuffed, Mr. Burnett continued to

   put up a fight. (Id. at ¶¶ 62, 65) As officers attempted to carry him to a patrol car, Mr. Burnett

   pushed against officers and flung himself back into the house. (Id. at ¶¶ 61, 62, 64, 65) At all turns,

   Mr. Burnett resisted his arrest. Accordingly, the taser use identified in the amended complaint was

   reasonable.

             Officer Barth’s actions, also, did not violate clearly established law. Said differently, she

   did not have “fair and clear warning of what the Constitution requires.” Ashcroft v. al-Kidd, 563

   U.S. 731, 746 (2011). Mr. Burnett was suspected of a serious felony at the time officers attempted

   to apprehend him. He posed a threat when he retreated into his residence and actively resisted

   arrest. As described in City Defendants’ motion to dismiss, no precedent from the United States

   Supreme Court or the Tenth Circuit casts doubt on Officer Barth’s conduct or put her on notice

   that she violated clearly established law. If anything, precedent suggests that her conduct was

   lawful.

                    3. Inadequate medical care claim

             Plaintiff continues to assert a claim for inadequate medical attention in the amended

   complaint. “To prevail on the subjective component [of the two-pronged test], the prisoner must

   show that the defendants knew he faced a substantial risk of harm and disregarded that risk, by

   failing to take reasonable measures to abate it.” Callahan v. Poppell, 471 F.3d 1155, 1159 (10th

   Cir. 2006) (internal quotation marks omitted); see also Strain v. Regalado, 977 F.3d 984, 992 (10th

   Cir. 2020) (“[D]eliberate indifference requires an official to subjectively disregard a known or

   obvious, serious medical need.”). The amended complaint does not sufficiently allege the officers

   knew Mr. Burnett faced a substantial risk of harm and disregarded it.


                                                      9
Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 10 of 12




             The amended complaint does not allege that Mr. Burnett died of a particular action or

   medical condition. (ECF 23-1, ¶¶ 101, 102) Instead, it alleges that the officers should have been

   aware that anyone that engages in a physical encounter with another person has an increased risk

   of “sudden death.”4 (Id. at ¶ 101) The allegations fail to allege the requisite awareness of a specific

   underlying serious medical condition. See Martinez v. Beggs, 563 F.3d 1082, 1090 (10th Cir. 2009)

   (discussing the necessity of awareness the specific underlying serious medical condition and

   finding awareness of acute intoxication is not awareness of a heart attack and death). The amended

   complaint, too, alleges that officers repeatedly took steps to check Mr. Burnett’s vital signs. (ECF

   23-1, ¶¶ 79, 83, 86, 87, 89, 92). At most, alleged is an inadvertent failure to provide preferred

   medical care. This is insufficient to state a plausible claim for inadequate medical attention. See

   Beggs, 563 F.3d at 1088 (“‘an inadvertent failure to provide adequate medical care’ does not rise

   to a constitutional violation.” (quoting in part Estelle v. Gamble, 429 U.S. 104, 105-06 (1976)).

   Accordingly, the claim is subject to dismissal.

                    4. Monell claim

             In addition to the standalone Monell claim for a failure to train and supervise, the amended

   complaint alleges that the City has a “custom, policy and/or practice” of warrantless entry,

   improper use of tasers, declining to request medical services after an arrestee becomes

   unresponsive. (ECF 23-1, ¶ 106).

             Like the original complaint, the amended complaint is rife with conclusions and formulaic

   recitations of the claim, and light on substantive allegations. The amended complaint adds four

   “examples” (Id. at ¶ 107) of the alleged customs. For starters, none of the “examples” identified in


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       There is no allegation that Mr. Burnett died of positional asphyxiation.
                                                     10
Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 11 of 12




   paragraphs 107 through 110 of the amended complaint involve warrantless entry or declining to

   request medical services. So, with respect to the warrantless entry and medical services theories,

   Plaintiff solely and improperly relies on the incident with Mr. Burnett to support the Monell claim.

   See Est. of Dixon v. Bd. of Cty. Commissioners of Crowley Cty., No. 15-CV-02727-NYW, 2017

   WL 1407038, at *12 (D. Colo. Apr. 18, 2017) (“[A] plaintiff cannot rely only on her individual

   treatment to establish a policy or custom, even if she is treated on multiple days by different

   defendants. . . . a single incident of a constitutional violation is insufficient to prove a policy or

   custom even when the incident involved several employees of the municipality.”).

            Turning to the “examples” themselves, they involve three instances over ten years where

   officers allegedly used tasers in very different circumstances than those involving Mr. Burnett.5

   The instances are insufficient to establish a continuing, persistent and widespread custom. See

   Carney v. City & Cnty. of Denver, 534 F.3d 1269, 1274 (10th Cir. 2008) (“In attempting to prove

   the existence of such a continuing, persistent and widespread custom, plaintiffs most commonly

   offer evidence suggesting that similarly situated individuals were mistreated by the municipality

   in a similar way.” (internal quotation marks omitted)). Accordingly, the amended complaint does

   not cure the deficiencies of the original complaint and is subject to dismissal.

            WHEREFORE, for the foregoing reasons, Defendants respectfully request that this

   Honorable Court enter an order denying the motion for leave to amend.




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       There is also one where two individuals were “held at taser and gunpoint[.]” (ECF 23-1, ¶ 109)
                                                    11
Case 1:21-cv-01708-WJM-KMT Document 26 Filed 10/21/21 USDC Colorado Page 12 of 12




          Respectfully submitted this 21st day of October, 2021.

                                         OFFICE OF THE CITY ATTORNEY
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                             CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on the 21st day of October, 2021, I electronically filed the foregoing
   RESPONSE TO MOTION FOR LEAVE TO FILE AMENDED COMPLAINT AND JURY
   DEMAND with the Clerk of the Court using the CM/ECF system which will send notification of
   such filing. I further certify that a true and correct copy of the same was mailed to the following
   party via U.S. Mail, postage pre-paid, addressed as follows:

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                                                   12
